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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


 Arkansas Times LP                                                                       Plaintiff

 v.                                     Case no. ' / ·   JfLt_ylJLI/- /JJ,M
 Mark Waldrip, John Goodson,
 Morril Harriman, Kelly Eichler,
 David Pryor, Stephen Broughton,                                                            FILED
                                                                                      ..,._.IJ.S. 0,STR;Cr COU"'T'
 C.C. Gibson, Sheffield Nelson,                                                       a.,\"'' ERN CJSTRICT;. '' AS
 Tommy Boyer, and Steve Cox, in their
 official capacities as Trustees of
 the University of Arkansas Board of                                            JAMESW 'It                       ERK
 Trustees.                                                                      By:._~ff--H-C.:::,~4

          BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                         AND DECLARATORY RELIEF

                                             Introduction

        This is an action to protect the constitutional rights to engage in political expression and

association. A portion of Act 710 of 2017, codified at Ark. Code Ann. § 25-1-503 ("the Act"),

requires those who desire to contract with governmental entities in this state to certify that they

currently are not boycotting Israel and will not boycott Israel during the duration of their

contract. However, the Act permits a contractor to boycott Israel if the contractor agrees to

provide the goods or services for at least a twenty percent (20%) reduction in the contract

amount to be paid by the state. The Act's certification requirement violates the First and

Fourteenth Amendments of the United States Constitution by requiring contractors, including

Plaintiff in this action, to either refrain from boycotting Israel or to agree to a substantial

reduction in the contractual amount paid if they want to do business with the state.




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        Plaintiff Arkansas Times LP has a long history of contracting to run advertisements in the

Arkansas Times for Pulaski Technical College ("PTC"), which on February 1, 2017, became the

University of Arkansas, Pulaski Technical College ("UAPTC"). In October of this year, Plaintiff

was required-for the first time-to sign a pledge that it would refrain from boycotting Israel as

a condition to being awarded new advertising contracts. (Plaintiff was not offered the option of

agreeing to a reduction in the contractual amount paid.) Plaintiff refused to sign the pledge,

because the boycott pledge is unconstitutional, and was not awarded the new contracts as a

result. (Plaintiff would have refused a 20% reduction in payment as well, if it had been offered.)

Plaintiff brings a facial challenge to have declared that portion of the Act which requires the

certification unconstitutional and to invalidate the offending provision in its entirety. In addition,

it seeks to preliminarily enjoin the University of Arkansas Board of Trustees ("UABT") from

any enforcement of the Act's anti-boycott certification requirement.

                                        The Challenged Act

        In 2017, the Arkansas Legislature passed Act 710, which became effective August 3,

2017.

        The anti-boycott section of the Act provides:

         Prohibition on contracting with entities that boycott Israel.

         (a) Except as provided under subsection (b) of this section, a public entity
          shall not:

               ( 1) Enter into a contract with a company to acquire or dispose of services,
          supplies, information technology, or construction unless the contract includes
          a written certification that the person or company is not currently engaged in,
          and agrees for the duration of the contract not to engage in, a boycott of Israel; or

                (2) Engage in boycotts of Israel.

          (b) This section does not apply to:



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               (1) A company that fails to meet the requirements under subdivision (a)(l)
         of this section but offers to provide the goods or services for at least twenty
         percent (20%) less than the lowest certifying business; or

              (2) Contracts with a total potential value of less than one thousand dollars
        ($1,000).

Ark. Code Ann.§ 25-1-503.

       The Act defines "boycott Israel" and "boycott oflsrael" to mean:

        [E]ngaging in refusals to deal, terminating business activities or
        other actions that are intended to limit commercial relations with Israel,
        persons or entities that are intended to limit commercial relations with
        Israel, or persons or entities doing business in Israel or in Israeli-
        controlled territories, in a discriminatory manner.

Ark. Code Ann.§ 25-1-502.

        The Act seeks to suppress participation in political boycott campaigns aimed at Israel

and territories where Israel exerts control. These campaigns typically are a protest against the

Israeli government's treatment of Palestinians and its occupation of Palestinian territories.

                                             The Facts

         Plaintiff operates the Arkansas Times, a weekly newspaper of general circulation in this

state, as well as other special interest publications. The publisher and CEO of the Arkansas

Times is Alan Leveritt. He is also the CEO and a principal of Arkansas Times LP. Leveritt

Deel., Exh. 1 to Motion for Preliminary Injunction, ,i 2. For many years, Plaintiff has regularly

contracted with PTC, and now with the UABT, to run advertisements for PTC, now UAPTC, in

the Arkansas Times and other Arkansas Times LP publications in return for payment for this

service. Exh. 1, ,i 5. In October 2018, Plaintiff and UAPTC were preparing to enter into new

contracts for additional advertising in the Arkansas Times. At that time, the UAPTC Director of

Purchasing and Inventory informed Mr. Leveritt that he would have to sign a certification stating

that Plaintiff is not currently engaged in, and agrees for the duration of the contract not to engage


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in, a boycott oflsrael. UAPTC informed Mr. Leveritt that absent this certification, UABT would

refuse to contract with Plaintiff for any additional advertising. Exh. I ,,r 3. Mr. Leveritt, as CEO

of Arkansas Times LP, declined to sign the certification. It is unacceptable for Plaintiff to enter

into an advertising contract with the University of Arkansas that is conditioned on the

unconstitutional suppression of protected speech under the First Amendment. Moreover, Plaintiff

is unwilling to accept a 20% reduction in payment by UAPTC for its advertising services. Exh.

1, ,r 4.

           Plaintiff is ready, willing, and able to enter into new or renewed advertising contracts

for UAPTC with UABT, but refuses to sign the required anti-boycott certification. Exh. 1, ,r,r 5,

7. Because of the certification requirement, Mr. Leveritt and UABT have no present contract to

advertise UAPTC and no future prospect to enter into one. As a result of Plaintiffs refusal to

sign the anti-boycott pledge, as of December 11, 2018, UAPTC has failed to offer Plaintiff at

least two new contracts for advertising in the Arkansas Times, each of which would have been

for an amount in excess of $1,000. Exh. 1, ,r 5. In view of its long contractual history with PTC

and UABT on behalf of UAPTC, Plaintiff reasonably expected that it would be awarded

additional advertising contracts in the future. In 2016, Plaintiff contracted with PTC for 22

separate contracts in amounts over $1,000 for PTC ads; in 2017, 36 such contracts were executed

with UABT; in 2018, 25 such contracts were executed prior to the anti-boycott pledge

requirement. Exh. I, ,r 5. Plaintiff's refusal to sign the anti-boycott pledge means that new such

contracts with UABT will not be executed as long as the Act remains in force. Exh. 1, ,r 5. As a

result of the Act's certification requirement, Plaintiff has sustained substantial monetary

damages, which are not recoverable against UABT in a court of law and which will continue into

the future if the certification requirement is not invalidated. Exh. 1, ,r 7.



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                                      Summary of Argument

       The First Amendment to the United States Constitution prohibits Congress from making

laws which abridge the freedoms of speech and association. U.S. CONST. amend. I. The

Fourteenth Amendment prohibits states from depriving any person oflife, liberty, or property,

without due process oflaw. U.S. CONST. amend. XIV. The Fourteenth Amendment extends

application of the First Amendment to actions of the states. Id

                                             Argument

       A preliminary injunction is necessary to remedy the irreparable injuries inflicted on

Plaintiff, as well as public contractors throughout Arkansas, by the Act's unconstitutional

certification requirement. In determining whether to grant a preliminary injunction in the Eighth

Circuit the courts consider the following factors: "(1) the threat of irreparable harm to the

movant; (2) the state of balance between this harm and the injury that granting the injunction will

inflict on other parties litigant; (3) the probability that movant will succeed on the merits; and (4)

the public interest." Dataphase Sys., Inc. 640 F.2d at 114. However, "[w]hen a Plaintiff has

shown a likely violation of his or her First Amendment rights, the other requirements for

obtaining a preliminary injunction are generally deemed to have been satisfied." Phelps-Roper v.

Troutman, 662 F.3d 485,488 (8th Cir. 2011), overruled on other grounds by Phelps-Roper v.

City of Manchester, 545 F.3d. 678 (8th Cir. 2012). It is well-settled law that a "loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury." Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality). "If Plaintiffs can establish a

sufficient likelihood of success on the merits of their First Amendment claims, he will also have

established irreparable harm." Phelps-Roper v. Nixon, 545 F.3d 685, 689-90 (8th Cir. 2008)

(internal quotations omitted), overruled on other grounds by Phelps-Roper v. City of



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Manchester; see also Marcus v. Iowa Pub. Television, 97 F.3d 113 7, 1140-41 (8th Cir.1996);

Kirkeby v. Furness, 52 F.3d 772, 775 (8th Cir. 1995). The balance of equities, too, generally

favors constitutionally-protected freedom of expression, Nixon, 545 F.3d at 691, and it is always

in the public interest to protect constitutional rights. Id; see also Connection Distrib. Co. v. Reno,

154 F.3d 281,288 (6th Cir.1998) (quotations omitted); Kirkeby, 52 F.3d at 775 (citing Frisby v.

Schultz. 487 U.S. 474,479 (1988)).

        Plaintiff satisfies the Dataphase factors. Plaintiff is likely to succeed in demonstrating

that the boycott certification provision of the Act is unconstitutional both on its face and as

applied; therefore. the Court should issue a preliminary injunction restraining Defendants from

enforcing the Act with respect to all UABT contractors. In the alternative, if the Court declines

to issue a preliminary injunction restraining enforcement with respect to all UABT contractors, it

should issue a preliminary injunction restraining Defendants from enforcing the Act with respect

to Plaintiff.

                        Plaintiff Is Likely to Succeed on the Merits

        At this stage of the proceedings, the role of this Court is not to determine the

constitutionality of the challenged law, but rather the likelihood of Plaintiff's success in

prevailing on its challenge to the law's validity. See Glenwood Bridf?e. Inc. v. City of

Minneapolis, 940 F.2d 367,371 (8th Cir. 1991) (noting that in considering the likelihood of the

movant prevailing on the merits, a court does not decide whether the movant will ultimately

win). Because Plaintiff is challenging the constitutionality of a state statute, it must demonstrate

that it is likely "to prevail on the merits." Planned Parenthood Minn., ND., S.D. v. Rounds, 530

F.3d 724, 732 (8th Cir. 2008). Under Dataphase and Rounds, Plaintiff can show such a

likelihood.



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        Plaintiff is likely to succeed in demonstrating that the Act's certification requirement

violates the First Amendment. Two federal courts have already enjoined Israel anti-boycott laws

that are strikingly similar to the one at issue here, after concluding that those challenging the

laws were likely to succeed on the merits of their claims because the laws are unconstitutional.

See Koontz v. Watson, 283 F. Supp. 3d 1007 (D. Kan. 2018); Jordahl v. Brnovich, --- F. Supp. 3d

----, No. CV-17-08263-PCT-DJH, 2018 WL 4732493 (D. Ariz. Sept. 27, 2018), appeal filed.

And with good reason. It is black letter law that the First Amendment rights to free association

and free expression collectively encompass the right to participate in political boycotts. The state

cannot condition government contracts on the forfeiture of this right. The Act violates this

principle in two respects. First, it compels speech regarding contractors' political beliefs,

association, and expression. Second, it restricts state contractors from engaging in protected

expression and association, including both boycott participation and boycott-related speech,

without any legitimate justification. See Koontz, 283 F. Supp. 3d 1020-24; Jordahl, 2018 WL

4 732493, at * 11. Plaintiff is likely to prevail on both of these theories, but need prevail on only

one for this Court to issue a preliminary injunction.

                               The First Amendment Protects the Right to Engage
                                             in Political Boycotts

       Since the Supreme Court's landmark decision in NAACP v. Claiborne Hardware Co.,

458 U.S. 886 (1982), it has been clear that the First Amendment protects the right to engage in

politically-motivated boycotts. Claiborne concerned a boycott of white-owned businesses in Port

Gibson, Mississippi. Id. at 889. The boycott, which was organized with the help of the NAACP,

was meant to protest ongoing racial segregation and widespread racial inequality in the

community. Id. Several merchants targeted by the boycott filed a lawsuit against the boycotters

in Mississippi state court, seeking to recover business losses caused by the boycott and enjoin


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future boycott activity. Id. The Mississippi Supreme Court rejected the boycotters' First

Amendment defense and upheld the trial court's imposition ofliability, concluding that "the

entire boycott was unlawful" because the trial court had found that it was enforced through force,

threats, and violence. Id. at 895.

       The U.S. Supreme Court reversed, holding in relevant part that "the nonviolent elements

of [the boycotters'] activities are entitled to the protection of the First Amendment." Id. at 915;

The First Amendment right of association protects "the practice of persons sharing common

views banding together to achieve a common end." Id. (quoting Citizens Against Rent Control

Coalition.for Fair Housing v. Berkeley, 454 U.S. 290, 294 (1981)) (internal quotation marks

omitted). Although the Court acknowledged that "States have broad power to regulate economic

activity," it did "not find a comparable right to prohibit peaceful political activity such as that

found ip the boycott in this case." Id. at 913. To the contrary, the Court observed that such

"expression on public issues has always rested on the highest rung of the hierarchy of First

Amendment values," id. (quoting Carey v. Brown, 447 U.S. 455,467 (1980)), and that "the

practice of persons sharing common views banding together to achieve a common end," whether

through association with a political party or a boycott campaign, "is deeply embedded in the

American political process." Id. at 907 (quoting Citizens Against Rent Control Coal. for Fair

Haus., 454 U.S. at 294 ). Emphasizing that "speech concerning public affairs is more than self-

expression; it is the essence of self-government," the Court reiterated the "profound national

commitment to the principle that debate on public issues should be uninhibited, robust, and wide-

open." Id. (citations and internal quotation marks omitted).

       Since Claiborne, the Supreme Court repeatedly has reaffirmed that the First Amendment

protects the right to engage in political boycotts. See e.g., FTC v. Superior Court Trial lawyers



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Ass 'n, 493 U.S. 411, 428 (1998); Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S.

492, 508 ( 1988). The principles laid down in Claiborne protect Plaintiff and all contractors with

public entities within the state of Arkansas. Indeed, relying on Claiborne, recent decisions from

courts in other jurisdictions have held that "the First Amendment protects the right to participate

in a boycott like the one punished by" anti-boycott laws similar to the one at issue here. Koontz,

283 F. Supp. 3d at 1012; see also Jordahl, 2018 WL 4 732493 at * 13 ("A restriction of one's

ability to participate in collective calls to oppose Israel unquestionably burdens the protected

expression of companies wishing to engage in such a boycott. The type of collective action

targeted by the Act specifically implicates the rights of assembly and association that Americans

and Arizonans use 'to bring about political, social, and economic change."' (quoting Claiborne,

458 U.S. at 911)).

    The Act Violates the First Amendment By Requiring Public Contractors to Disavow
                                Participation in Protected Boycotts

        The Act violates the fundamental First Amendment guarantee against government

inquisition into people's protected political beliefs and associations. "If there is any fixed star in

our constitutional constellation, it is that no official, high or petty, can prescribe what shall be

orthodox in politics, nationalism, religion, or other matters of opinion or force citizens to confess

by word or act their faith therein.'' West Virginia St. Bd. of Educ. v. Barnette, 319 U.S. 624, 642

(1943). One of the core purposes of the First Amendment is to preserve the "sphere of intellect

and spirit" from "all official control." Id. at 642. Since Barnette, the Supreme Court has

consistently emphasized that the right to hold one's personal "beliefs and to associate with others

of [like-minded] political persuasion" lies at the heart of the First Amendment. Elrod v. Burns,

427 U.S. 347,356 (1976). To protect these rights, the First Amendment prohibits the state from

imposing ideological litmus tests as a condition of receiving government benefits.


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        The Supreme Court's decision in Baird v. State Bar of Arizona is instructive. There, the

 Court held that the First Amendment prohibited the state bar from requiring an applicant "to state

 whether she had ever been a member of the Communist Party or any organization 'that advocates

 overthrow of the United States Government by force or violence."' 401 U.S. 1, 4-5 (1971).

 Writing for the plurality, Justice Black stated: "[W]hen a State attempts to make inquiries about a

 person's beliefs or associations, its power is limited by the First Amendment. Broad and

 sweeping state inquiries into these protected areas, as Arizona has engaged in here, discourage

 citizens from exercising rights protected by the Constitution." Id. at 6. Accordingly, when a State

 inquires into these protected areas, "a heavy burden lies upon it to show that the inquiry is

 necessary to protect a legitimate state interest." Id. at 6-7. "And whatever justification may be

 offered, a State may not inquire about a man's views or associations solely for the purpose of

 withholding a right or benefit because of what he believes." Id. at 7; Speiser v. Randall, 357 U.S.

 513, 514-15 (1958) (invalidating a requirement that veterans applying for a property tax

 exemption subscribe to an oath disavowing the overthrow of the government and any support for

 foreign governments hostile to the United States). Along the same lines, the Supreme Court has

 made clear that public "employment may not be conditioned on an oath that one has not

 engaged, or will not engaged, in protected speech activities" or "associational activities within

 constitutional protection." Cole v. Richardson, 405 U.S. 676, 680 (1972).

        The same principle applies to conditions on government contracts. See, e.g., Agency for

 Int'/ Dev. v. All. for Open Society Int'/, Inc., 133 S. Ct. 2321, 2330 (2013) (holding that the

 government could not require organizations to adopt a policy opposing prostitution as a

 condition ofreceiving government funds) ("By requiring [funding] recipients to profess a

 specific belief, the Policy requirement goes beyond defining the limits of the federally funded



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program to defining the recipient."); Bd. of Cnty. Comm 'rs v. Umbehr, 518 U.S. 668, 674-75

(1996) (''We have held that government workers are constitutionally protected from dismissal for

refusing to take an oath regarding their political affiliation" (citations omitted)). Any attempt to

penalize a government employee's or contractor's protected political beliefs or associations

violates the First Amendment, unless the nature of the goods or services provided "requires

political allegiance.'' Jantzen v. Hawkins, 188 F.3d 1247, 1251 (10th Cir. 1999) (applying this

test to employees); see also O Hare Truck Serv., Inc. v. City of Northlake, 518 U.S. 712, 726

(1996) (holding that the same test applies to public employees and government contractors). 1

          The issue in a compelled speech case, such as this one, is the "validity of the asserted

power to force an American citizen publicly to profess any statement of belief or engage in any

ceremony of assent to one." Id. A person's reasons for declining to profess any statement of

belief is immaterial. The Supreme Court reiterated this point in Hurley, holding that the

organizers of a parade did not have to allow participants they did not want to include regardless

of their reasons: "[W]hatever the reason, it boils down to the choice of a speaker not to propound

a particular point of view, and that choice is presumed to lie beyond the government's power to

control." Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Boston, 515 U.S. 557, 575

(1995). See also Cramp v. Bd. of Pub. Instruction of Orange Cty., Fla., 368 U.S. 278, 280-81

(1961).




 1 Here, there is no reason to believe that every single state contractor (or, indeed, that any state
contractor) occupies a position requiring political allegiance. See Barker v. City of Del City, 215
F.3d 1134, 1138 (10th Cir. 2000) (the government "bears the burden of providing 'whether
political association was an appropriate requirement for the effective performance of the public
office involved"' (quoting Jantzen, 188 F.3d at 1253)). Even if some very small subset of state
contractors does occupy such positions, the Act's application to all state contractors is
substantially overbroad. See Broadrick v. Oklahoma, 413 U.S. 601 (1973)
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       Just as aspiring lawyers and government employees during the Cold War were required

to swear that they were not members of the Communist party, state contractors in Arkansas are

now required to certify that they are not participating in boycotts of Israel, nor will participate in

boycotts during the duration of the contract. Of course, there are many people in Arkansas who

do no business with Israeli companies or with companies doing business in Israeli settlements in

the occupied Palestinian territories, for any number of reasons. The Act penalizes only those who

refuse to disavow their participation or future participation in a boycott. Forcing the Arkansas

Times LP to disavow boycott participation "is akin to forcing plaintiff to accommodate

[Arkansas's] message of support for Israel." Koontz, 283 F. Supp. 3d at 1024. Thus, the Act

prohibits Arkansas Times LP from receiving any state contracts, because it refuses to make an

ideological and political pledge disavowing participation in disfavored boycott campaigns.

The Act Violates the First Amendment By Prohibiting Public Contractors from Boycotting
                                           Israel

       The Act also violates the First Amendment by imposing a blanket, content and viewpoint

discriminatory restriction on government contractors' protected boycott participation, as well as

their boycott-related speech and association. To determine whether the government has

unconstitutionally infringed a government contractor's freedom of expression and association,

courts apply the Pickering analysis used to assess government employee speech claims. Bd. of

Cty. Comm 'rs v. Umbehr, 518 U.S. 668, 674-75 (1996); see also Pickering v. Bd. of Ed., 391

U.S. 563 ( 1968).

       Under this test, a public contractor retains the right to speak as a citizen on matters of

public concern-and yet that is precisely what the Act prohibits. As discussed above, by

requiring public contractors to certify that they are not engaged in boycotts of Israel, and by

thereby prohibiting them from joining in such boycotts or expressing related speech, the Act


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directly prohibits a wide amount of speech on a matter of public concern. Indeed, these boycotts

are a form of "political speech lying at the core of the First Amendment." Claiborne, 458 U.S. at

915 (quoting Henry v. First Nat'/ Bank of Clarksdale, 595 F.2d 291,303 (5th Cir. 1979))

(internal quotation marks omitted); see also Jordahl, 2018 WL 4732493, at *16; Koontz, 283 F.

Supp. 3d at 1022.

        Under Pickering, such government regulation is proper only if "the interest of the State,

as an employer, in promoting the efficiency of the public services it performs through its

employees" outweighs "the interests of the [employee], as a citizen, in commenting upon matters

of public concern." Id at 568. Moreover, where, as here, the government proactively deters a

"broad category of expression," the First Amendment harms are even graver. In such contexts,

rather than engage in "a post hoc analysis of one [contractor's] speech and its impact on that

[contractor's] public responsibilities ... the Court weighs the impact of the ban as a whole-

both on the employees whose speech may be curtailed and on the public interested in what they

might say-against the restricted speech's necessary impact on the actual operation of the

Government." United States v. Nat'! Treasury Emps. Union, 513 U.S. 454,467 (1995). The

government carries a heavier burden in this context because, "[u]nlike an adverse action taken in

response to actual speech," a prospective restriction "chills potential speech before it happens."

Id. at 468. To satisfy the First Amendment, the state "must do more than simply 'posit the

existence of the disease sought to be cured.' ... It must demonstrate that the recited harms are

real, not merely conjectural, and that the regulation will in fact alleviate these harms in a direct

and material way." Id at 475 (omission in original) (citation omitted). The test applied therefore

"more closely resembles exacting scrutiny than the traditional Pickering analysis." Janus v. Am.

Fed'n ofState, Cty. & Mun. Emps., Council 31, 138 S. Ct. 2448, 2472 (2018).



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       The Act fails such scrutiny. There is no plausible justification for the anti-boycott pledge,

except the desire to identify, punish, and chill disfavored political beliefs and associations. That

justification cannot survive First Amendment scrutiny. See Baird, 401 U.S. at 7.

       Far from being justified by a legitimate government interest, the Act is intended to

accomplish precisely what Claiborne prohibits-the suppression of political boycotts, as well as

related speech and association. Moreover, whereas Claiborne concerned a state law that at least

theoretically applied to all political boycotts, the Act compounds the First Amendment violation

by targeting specific boycotts based on their content and viewpoint. The Act prohibits state

contractors from participating in boycotts of Israel, but allows them to participate in other

political boycotts-including boycotts of other foreign countries and "reverse boycotts" targeting

entities that are themselves engaged in boycotts of Israel. 2 "This is either viewpoint

discrimi~ation against the opinion that Israel mistreats Palestinians or subject matter

discrimination on the topic of Israel. Both are impermissible goals under the First Amendment."

Koontz, 283 F. Supp. 3d at 1022; see also Jordahl, 2018 WL 4732493, at* 17.

       "The First Amendment generally prevents government from proscribing speech, or even

expressive conduct, because of disapproval of the ideas expressed. Content-based regulations are

presumptively invalid." RAV v. City ofSt. Paul, 505 U.S. 377, 382 (1992) (citations omitted).

The Act's selective prohibition is content discriminatory because it prevents state contractors

from participating in boycotts based on the subject matter of those boycotts-i.e., Israel. See,

e.g., Police Dep 't of City of Chi. v. Mosley, 408 U.S. 92, 95 (1972) (holding that a Chicago

ordinance exempting peaceful labor picketing from a general prohibition on picketing next to a

school was content discriminatory because it "describe[d] permissible picketing in terms of its


2 See, e.g., Roz Rothstein & Roberta Seid, Boycott the Boycotters, Jewish Journal, Aug. 25,
2010, available at: http://iewishjournal.com/opinion/82483/ (last visited December 11, 2018).

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subject matter"). "[T]he government's ability to impose content-based burdens on speech raises

the specter that the government may effectively drive certain ideas or viewpoints from the

marketplace. The First Amendment presumptively places this sort of discrimination beyond the

power of the government." Simon & Schuster, Inc. v. Members ofN.Y. State Crime Victims Bd.,

502 U.S. 105, 116 (1991). For this reason, content-based restrictions on expression are

presumptively invalid and must satisfy the most exacting scrutiny. E.g., United States v. Playboy

Entm 't Grp., Inc., 529 U.S. 803, 816-17 (1981).

       The category of content discrimination "includes a subtype of laws that go further, aimed

at the suppression of particular views ... on the subject." Mata/, 137 S. Ct. at 1766 (2017)

(Kennedy, J., concurring in part and concurring in the judgment) (citation omitted) (alteration in

original). "At its most basic, the test for viewpoint discrimination is whether-within the

relevant subject category-the government has singled out a subset of messages for disfavor

based on the views expressed." Id. "It is perhaps the most fundamental principle of First

Amendment jurisprudence that the government may not regulate speech on the ground that it

expresses a dissenting viewpoint." Sa,your, 56 F.3d at 96. The Act's prohibition of boycotts of

Israel is quintessential viewpoint discrimination. See, e.g., Sorrell, 564 U.S. at 565 (law was

content and viewpoint discriminatory where it targeted retailers who "convey messages that 'are

often in conflict with the goals of the state"'); see also Sanjour, 56 F.3d at 96-97 (concluding

that federal regulations prohibiting government employees from receiving reimbursement for

unofficial speaking engagements were likely viewpoint discriminatory because it appeared that

the government would not approve reimbursement for anti-government speech).

       Indeed, this Court has previously addressed the constitutionality of a viewpoint-based

condition imposed by the State of Arkansas on public employees and ruled against the state. See,



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e.g., Cooper v. Ross, 472 F. Supp. 801, 809 (E.D. Ark. 1979). Cooper involved an assistant

professor at the University of Arkansas at Little Rock who was a member of the Communist

Party. In 1973, twenty-three state legislators filed suit in state court against Cooper, Chancellor

Ross, and the Trustees of the University, to enjoin Cooper's further employment at the university

on the ground that he had violated Ark. Stat. Ann.§§ 41-4111 and 41-4113 (1964), which

provided: "No person who is a member of a Nazi, Fascist or Communist society, or any

organization affiliated with such societies, shall be eligible for employment by the State of

Arkansas, or by any department, agency, institution, or municipality thereof." Ross thereafter

brought suit under 42 U.S.C. § 1983 in the Eastern District of Arkansas seeking to maintain his

employment. In deciding the case, this Court stated, "The decision not to rehire may not,

however, be predicated on the teacher's exercise of constitutionally protected rights, particularly

the First and Fourteenth Amendment guarantees of freedom of speech and association .... Our

form of government is built on the premise that every citizen shall have the right to engage in

political expression and association." Id. at 810 (citing Sweezy v. New Hampshire, 354 U.S. 234,

250 ( 1957) ). "It is now beyond question that mere association with or membership in a

communistic organization is protected activity for which a state may not impose civil disabilities

such as exclusion from state employment." Id. (citing Baird v. State Bar, 401 U.S. 1 (1971)). In

other words, the government cannot use its position as employer or contractor to impose an

unconstitutional condition, including any viewpoint-based one.

       Moreover, any conceivable legitimate state interest in extracting such an ideological

pledge (and there can be none) is fatally undercut by the wholesale exemption from the Act for

any contractor willing to give the government a 20% discount. Whatever state interest might be

asserted, it cannot be significant if it vanishes completely upon a 20% discount. "Exemptions



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from an otherwise legitimate regulation of a medium of speech may be noteworthy for a reason

quite apart from the risks of viewpoint and content discrimination: They may diminish the

credibility of the government's rationale for restricting speech in the first place." City of Ladue

v. Gilleo, 512 U.S. 43, 52 (1994). And so it is here. See Koontz, 283 F. Supp. 3d at 1023 (finding

that "[t]he authority the Kansas Law grants the Secretary of Administration to waive [a similar

certification requirement] ... undermines any rationale offered by defendant.").

       Finally, even if the certification requirement could constitutionally be applied to some

subset of government contractors, it is nonetheless facially invalid because it is overinclusive. "If

the government has a substantial interest with respect to only a subcategory of the restricted

speech, then its interest will not readily outweigh the burden imposed on the larger category of

speech subject to regulation." Sanjour, 56 F.3d at 97. Thus, "[i]n performing the Pickering

balance ... the courts must consider whether the challenged statute or regulation is tailored to

address the harm that the government allegedly aims to protect." Id. Here, even if there were

some limited subset of government contractors whose boycott activity legitimately implicated

state interests, that would not justify preventing a wide range of government contractors-

including individual service providers, small businesses, social service agencies, and members of

the press-from participating in protected political boycotts. See id. at 98 ("[W]e believe that the

extraordinary reach of the challenged regulations places a heavy justificatory burden on the

government-or put another way, the great quantity of speech affected by the regulatory scheme

weighs heavily on the side of the employees."). Moreover, the Act is "overinclusive because it

also bans political boycotts, which is impermissible." Koontz, 283 F. Supp. 3d at 1023.




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                   Injunctive Relief Should Extend to All Government Contractors

     Given that the certification and pledge requirements of the Act facially violate the First

Amendment, the appropriate remedy in this case is an injunction preventing Defendants from

enforcing the requirement against all government contractors, not just Plaintiff. A court may

reach beyond the particular circumstances of a plaintiff if they satisfy the standard for a facial

challenge. John Doe No. Iv. Reed, 561 U.S. 186, 194 (2010). In the First Amendment context,

in particular, this Court should recognize the significant public interest in upholding free speech

principles, as the ongoing enforcement of this unconstitutional requirement infringes not only the

free expression interests of Plaintiff, but also the interests of other people and entities subjected

to the same restrictions. However, if the Court concludes that facial relief is inappropriate at this

stage, it should enjoin Defendants from enforcing the Act against Plaintiff. Plaintiffs refusal to

sign the certification is fully protected by the First Amendment. Whatever interests Defendants

may assert to defend the Act as a whole, there is simply no justification for forcing Plaintiff to

choose between exercising its First Amendment rights and contracting with the state.

                      Plaintiff And Others Will Suffer Irreparable Harm In The
                              Absence of a Preliminary Injunction

        Plaintiff, and other governmental contractors similarly situated, will suffer irreparable

harm if a preliminary injunction is not granted because its First Amendment rights are being

abridged. Phelps-Roper v. Nixon, 509 F.3d 480 (8th Cir. 2007). There is no remedy at law which

can compensate for the loss of these protected free speech rights. Nat'l Peoples Action v. Village

of Wilmette, 914 F.2d. 1008, 1013 (ih Cir. 1990). Moreover, Plaintiff has lost advertising

revenue (that it cannot recover in a court of law) due to the anti-boycott certification requirement

and will continue to lose money in the future if the Act is not invalidated.




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                 The Balance between This Harm and the Injury that Granting
                     the Injunction Will Inflict on Other Interested Parties

         Here, the balance of equities tips decidedly in Plaintiff's favor. Phelps-Roper v. Nixon,

509 F.3d 480 (8th Cir. 2007). In the absence of a preliminary injunction, enforcement of

challenged provisions of the law will prevent Plaintiff from exercising its First Amendment

rights. On the other hand, if the Court grants a preliminary injunction, Defendants will suffer no

harm.

                    The Public Interest is in Served by issuing an Injunction.

         Finally, the grant of a preliminary injunction would serve the public interest. It is

axiomatic that the public interest is served by upholding the Constitution and preventing the

enforcement of unconstitutional laws. Phelps-Roper v. Nixon, 509 F.3d 480 (8th Cir. 2007).

Because §25-1-503 is unconstitutional, the public interest will be served by an injunction against

its enforcement.

                                           CONCLUSION

         For the reasons set forth above, Plaintiff respectfully requests that the Court grant its

motion for a preliminary injunction and enjoin Defendants from enforcing § 25-1-503 of the

challenged Act 710 during the pendency of this litigation.

Dated:



                                       Respectfully submitted,

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